     Case 3:16-md-02741-VC          Document 20385         Filed 03/25/25     Page 1 of 1




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      ORDER DEEMING MOOT
                                                  MONSANTO’S MOTION TO
   Fallon v. Monsanto Co.,                        EXCLUDE EXPERT CHINTAN C.
   Case No. 3:20-cv-00248-VC                      GANDHI AND MOTION FOR
                                                  SUMMARY JUDGMENT
                                                  Re: Dkt. No. 18955


       Monsanto’s motion to exclude the plaintiff’s expert Dr. Chintan C. Gandhi is deemed

moot since the case was moved to Wave 9 after the plaintiff’s counsel agreed to pay Monsanto’s

costs for taking the expert’s deposition and filing the motion. See Order Denying Motion to

Move Case to Later Wave (Dkt. No. 19645); see also Dkt. No. 19670, 19692.

       IT IS SO ORDERED.
Dated: March 25, 2025
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
